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GAS 245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet I




                                         UNITED STATES DISTRICT COURT
                                                              Southern District of Georgia
                                                                  Savannah Division

            UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL CASE
                                 V   .
                                                                                        (For Revocation of Probation or Supervised Release)
                       Emmanuel Jones
                          aka "E"                                                       Case Number:             4:08CR003 I 5-34

                                                                                        USM Number                13834-021

                                                                                        Kenneth Jacob Wilson
                                                                                        Defendants Attorney
THE DEFENDANT:
   admitted guilt to violation of a mandatory condition of the term of supervision.
LI was found in violation of conditions(s)                                                            after denial of guilt.

The defendant is adjudicated guilty of this offense:

   Violation Number             Nature of Violation                                                                            Violation Ended

                                The defendant committed another Federal, state, or local crime (mandatory                      November 6, 2014
                                condition).


         The defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.
LI The defendant has not violated condition(s)                                                      and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           MAr c h                                                          -
Last Four Digits of DeIndant's Soc. Sec: 4285                              Date of Imposition of Judgment




Defendant's Year of Birth: 1981
                                                                           Si UflaiLl    ul 3 udc


City and State of Defendant's Residence:

Savannah, Georgia                                                          William T. Moore, Jr.
                                                                           Judge, U.S. District Court

                                                                           Name and Title of Judge




                     U. S. DISTRICT COURT
                     Southern District of Ga.                              Date
                           Filed in Office



                               Deputy Clerk
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                                                                                                                     Judgment— Page 2 of 2
DEFENDANT:                   Emmanuel Jones
CASE NUMBER:                 4:08CR00315-34


                                                                    IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 5 months.




     0       The Court makes the following recommendations to the Bureau of Prisons:




     fj      The defendant is remanded to the custody of the United States Marshal.

     LI      The defendant shall surrender to the United States Marshal for this district:

           0     at                                   El         a.m.      LI    p.m. on

           Eli   as notified by the United States Marshal.

     El      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           LI    before 2 p.m. on

           LI    as notified by the United States Marshal.

           LI    as notified by the Probation or Pretrial Services Office.


                                                                            RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                               to

at                                                         , with a certified copy of this judgment.


                                                                                                          UNITED STATES MARSHAL




                                                                                   By
                                                                                                       DEPUTY UNITED STATES MARSHAL
